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                        IN THE UNITED STATES DISTRICT COURT

                               IN AND FOR THE DISTRICT OF UTAH

 TYLER WEBER; TRACY SARNO; JANET
 YEILDING; and JANAYE KEARNS,                         Case No. 2:14cv00884

                 Plaintiffs,                          REQUEST TO SUBMIT FOR
                                                      DECISION
 vs.

 DIAMOND RANCH ACADEMY, a Utah                        Magistrate Dustin B. Pead
 corporation; and DOES I through X, inclusive,

                 Defendants.


       Pursuant to DUCivR 7-3, Defendant, by and through counsel, requests a decision

on Defendant’s Motion to Dismiss.

       The following filings relate to this motion:

       1.       Diamond Ranch Academy’s Motion and their Memorandum in Support

       thereof; filed on February 2, 2015.

       2.       Plaintiff’s Opposition to Diamond Ranch Academy’s Motion to Dismiss filed

       on March 9, 2015.
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3.       Diamond Ranch Academy’s Reply in Support of Motion to Dismiss filed on

March 12, 2015.

         Defendant’s Motion to Dismiss has been fully briefed and is now ripe for

decision. Defendant requests the motion be submitted for decision and that a

hearing be set on the matter.


DATED this 28th day of April, 2015.

                                   KIPP AND CHRISTIAN, P.C.



                                          /s/ Sarah C. Vaughn
                                   GREGORY J. SANDERS
                                   SARAH C. VAUGHN
                                   Attorneys for Diamond Ranch Academy
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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 28th day of April, 2015, I caused a true and correct copy

of the foregoing REQUEST TO SUBMIT to be e-filed through the United States District

Court to the following:

                                    Thomas M. Burton
                                    Post Office Box 1619
                                    Salt Lake City, Utah 8410




                                                  /s/ Cheryl Browning




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